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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 CITIZENS FOR RESPONSIBILITY AND
 ETHICS IN WASHINGTON,
 1331 F Street NW, Suite 900
 Washington, DC 20004,

                       Plaintiff,
        v.

 U.S. DEPARTMENT OF THE                                     Civil Action No. ________
 TREASURY,
 1500 Pennsylvania Avenue NW
 Washington, DC 20220, and

 U.S. DEPARTMENT OF STATE,
 2201 C Street NW
 Washington, DC 20520,

                       Defendants.


             COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF

       1.      Plaintiff Citizens for Responsibility and Ethics in Washington (“CREW”) brings

this action under the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552, against Defendants

U.S. Department of the Treasury (“Treasury”) and U.S. Department of State (“State”) seeking

any records relating to discussions about invoking the 25th Amendment to remove former

President Trump from office following the January 6 attack on the U.S. Capitol.

       2.      CREW seeks declaratory relief that Defendants are in violation of FOIA, and

injunctive relief requiring Defendants to immediately process and release the requested records.

                                     Jurisdiction and Venue

       3.      This Court has subject-matter jurisdiction and personal jurisdiction under 5

U.S.C. §§ 552(a)(4)(B) and 552(a)(6)(C)(i). The Court also has jurisdiction over this action

pursuant to 28 U.S.C. §§ 1331, 2201(a), and 2202.
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        4.       Venue lies in this district under 5 U.S.C. § 552(a)(4)(B).

                                                   Parties

        5.       Plaintiff CREW is a non-profit, non-partisan organization organized under section

501(c)(3) of the Internal Revenue Code. CREW is committed to protecting the rights of citizens

to be informed about the activities of government officials and agencies, and to ensuring the

integrity of government officials and agencies. CREW seeks to empower citizens to have an

influential voice in government decisions and in the government decision-making process

through the dissemination of information about public officials and their actions. To advance its

mission, CREW uses a combination of research, litigation, and advocacy. As part of those

efforts, CREW uses government records it obtains under FOIA.

        6.       Defendant Treasury is an agency within the meaning of 5 U.S.C. § 552(f)(1).

Treasury has possession, custody, and control of the requested records.

        7.       Defendant State is an agency within the meaning of 5 U.S.C. § 552(f)(1). State

has possession, custody, and control of the requested records.

                                           Factual Background

        8.       Press reports allege that former Treasury Secretary Steven Mnuchin and former

Secretary of State Mike Pompeo discussed invoking the 25th Amendment to remove former

President Trump from office following the January 6 attack on the U.S. Capitol. 1

        9.       According to these reports, Mr. Mnuchin called Mr. Pompeo “on the evening of

Jan. 6 to suggest using the 25th Amendment” and had several other “conversations about the

25th Amendment.” 2 And Mr. Pompeo reportedly “asked for a legal analysis of the 25th


1
  Peter Wade, Mnuchin and Pompeo Discussed a Plan to Oust Trump from Office on Jan. 6: Report, Rolling Stone,
Nov. 15, 2021, https://www.rollingstone.com/politics/politics-news/mnuchin-pompeo-trump-25th-amendment-
1257958/.
2
  Id.


                                                      2
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Amendment and how it would work.” 3 However, the idea was “‘quickly jettisoned’ the next day

as Education Secretary Betsy DeVos and Transportation Secretary Elaine Chao resigned, leaving

Mnuchin to realize that using the Constitution to push Trump out of office would take too much

time and would almost certainly face legal challenges.” 4

        10.    In response to this reporting, Mr. Pompeo issued a statement “denying he was

involved in any 25th Amendment conversations.” 5

        11.    To help answer questions about this matter, CREW submitted FOIA requests to

Treasury and State.

                         November 16, 2021 FOIA Request to Treasury

        12.    On November 16, 2021, CREW submitted a FOIA request to Treasury seeking

the following records from January 6 to January 20, 2021:

               1.     All records sent or received by former Treasury Secretary Steven Mnuchin
                      mentioning or relating to the 25th Amendment to the U.S. Constitution.

               2.     All emails, call logs, summaries, agendas, minutes, readouts, or other
                      similar records reflecting discussions with former Secretary Mnuchin
                      concerning the 25th Amendment.

               3.     All emails, call logs, summaries, agendas, minutes, readouts, or other
                      similar records reflecting discussions between former Secretary Mnuchin
                      and former Secretary of State Mike Pompeo.

        13.    CREW’s request sought a fee waiver.

        14.    By letter dated November 16, 2021, Treasury acknowledged receipt of CREW’s

request and assigned it Case Number 2022-FOIA-00081.

        15.    To date, CREW has received no further communications from Treasury regarding

its FOIA request.


3
  Id.
4
  Id.
5
  Id.


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                           November 16, 2021 FOIA Request to State

       16.      On November 16, 2021, CREW submitted a FOIA request to State seeking the

following records from January 6 to January 20, 2021:

                1.     All records sent or received by former Secretary of State Mike Pompeo
                       mentioning or relating to the 25th Amendment to the U.S. Constitution.

                2.     All emails, call logs, summaries, agendas, minutes, readouts, or other
                       similar records reflecting discussions with former Secretary Pompeo
                       concerning the 25th Amendment.

                3.     All emails, call logs, summaries, agendas, minutes, readouts, or other
                       similar records reflecting discussions between former Secretary Pompeo
                       and former Treasury Secretary Steven Mnuchin.

       17.      CREW’s request sought a fee waiver.

       18.      By email dated December 2, 2021, State acknowledged receipt of CREW’s

request, assigned it tracking number F-2022-01557, and invoked an extension of its response

deadline due to “unusual circumstances.”

       19.      To date, CREW has received no other communications from State regarding its

FOIA request.

                               CREW’S CLAIMS FOR RELIEF

                                          COUNT I
                         Treasury’s Wrongful Withholding of Records
                            Responsive to CREW’s FOIA Request

       20.      CREW repeats and re-alleges the preceding paragraphs.

       21.      In its November 16, 2021 FOIA request, CREW properly asked for records within

the possession, custody, and control of Treasury.

       22.      Treasury has failed to conduct adequate searches in response to CREW’s request.

       23.      Treasury is wrongfully withholding records responsive to CREW’s request.




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       24.     By failing to timely release all requested records in full to CREW, Treasury is in

violation of FOIA.

       25.     CREW has constructively exhausted its administrative remedies.

       26.     CREW is therefore entitled to injunctive and declaratory relief requiring

immediate processing and disclosure of the requested records.

                                          COUNT II
                            State’s Wrongful Withholding of Records
                             Responsive to CREW’s FOIA Request

       27.     CREW repeats and re-alleges the preceding paragraphs.

       28.     In its November 16, 2021 FOIA request, CREW properly asked for records within

the possession, custody, and control of State.

       29.     State has failed to conduct an adequate search in response to CREW’s request.

       30.     State is wrongfully withholding records responsive to CREW’s request.

       31.     By failing to timely release all requested records in full to CREW, State is in

violation of FOIA.

       32.     CREW has constructively exhausted its administrative remedies.

       33.     CREW is therefore entitled to injunctive and declaratory relief requiring

immediate processing and disclosure of the requested records.

                                        Requested Relief

       WHEREFORE, CREW respectfully requests that this Court:

       1.      Order Defendants to immediately and fully process CREW’s FOIA requests and

disclose all non-exempt records to CREW;

       2.      Issue a declaration that CREW is entitled to immediate processing and disclosure

of the requested records;




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       3.     Provide for expeditious proceedings in this action;

       4.     Retain jurisdiction of this action to ensure no agency records are wrongfully

withheld;

       5.     Award CREW its costs and reasonable attorneys’ fees in this action; and

       6.     Grant such other relief as the Court may deem just and proper.



       Date: January 12, 2022                      Respectfully Submitted,

                                                   /s/ Nikhel S. Sus
                                                   Nikhel S. Sus
                                                   (D.C. Bar No. 1017937)
                                                   CITIZENS FOR RESPONSIBILITY AND
                                                   ETHICS IN WASHINGTON
                                                   1331 F Street NW, Suite 900
                                                   Washington, DC 20004
                                                   Telephone: (202) 408-5565
                                                   Fax: (202) 588-5020
                                                   nsus@citizensforethics.org




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